                                                                                                                Case 14-29261-MBK                             Doc 1
                                                                                                                                                                Filed 09/19/14 Entered 09/19/14 16:54:43 Desc Main
                                                                                                    B1 (Official Form 1) (04/13)                               Document Page 1 of 55
                                                                                                                                               United States Bankruptcy Court                        Voluntary Petition
                                                                                                                                                    District of New Jersey
                                                                                                     Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                      Roccaforte, Monica
                                                                                                     All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                     (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                      None

                                                                                                    Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                    (if more than one, state all): 1170                                               (if more than one, state all):

                                                                                                     Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                      1401 Highway 70
                                                                                                      Whiting, NJ                                                                                                                                                             ZIPCODE
                                                                                                                                                                         ZIPCODE
                                                                                                                                                                               08759
                                                                                                     County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                      Ocean
                                                                                                     Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                         ZIPCODE                                                                                              ZIPCODE

                                                                                                     Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                              ZIPCODE

                                                                                                                   Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                               (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                   (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                                                                                                                                                                         Chapter 15 Petition for
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                                                                                                         Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in
                                                                                                         See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                         Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                         Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                         Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                         check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                              Chapter 13
                                                                                                                                                                            Other N.A.                                                                   Nonmain Proceeding
                                                                                                                       Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                  (Check box, if applicable)                                    (Check one box)
                                                                                                     Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                      Debts are
                                                                                                                                                                                Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                      primarily
                                                                                                     Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                      business debts.
                                                                                                     regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                              personal, family, or
                                                                                                                                                                                                                              household purpose."
                                                                                                                                 Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                             Check one box:
                                                                                                            Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                    Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                            Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                            signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                            to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                   on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                               Check all applicable boxes
                                                                                                            Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                   A plan is being filed with this petition.
                                                                                                            attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                   Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                   classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                      Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                              COURT USE ONLY
                                                                                                        Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                        distribution to unsecured creditors.
                                                                                                    Estimated Number of Creditors

                                                                                                     1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                      5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                    Estimated Assets

                                                                                                    $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                    $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                     million       million          million          million            million
                                                                                                    Estimated Liabilities

                                                                                                    $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                    $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                      million      million          million          million            million
                                                                                                    B1 (Official
                                                                                                           Case  Form 1) (04/13)
                                                                                                                   14-29261-MBK                         Doc 1          Filed 09/19/14 Entered 09/19/14 16:54:43                                            Desc Main           Page 2
                                                                                                    Voluntary Petition                                                 Document Page Name2of of 55
                                                                                                                                                                                             Debtor(s):
                                                                                                    (This page must be completed and filed in every case)                                       Monica Roccaforte
                                                                                                                             All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                    Location                                                                              Case Number:                                       Date Filed:
                                                                                                    Where Filed:           NONE

                                                                                                     Location                                                                             Case Number:                                       Date Filed:
                                                                                                     Where Filed:
                                                                                                                           N.A.
                                                                                                               Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                     Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                     District:                                                                             Relationship:                                     Judge:


                                                                                                                                    Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                    (To be completed if debtor is an individual
                                                                                                    (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                    10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                    Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                    relief under chapter 11)                                                                have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                            12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                            available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                            debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                             Exhibit A is attached and made a part of this petition.                        X         /s/ James J. Cerbone                                 9/19/2014
                                                                                                                                                                                                  Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                  Exhibit C
                                                                                                    Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                             Yes, and Exhibit C is attached and made a part of this petition.
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                                                                                                             No.

                                                                                                                                                                                   Exhibit D
                                                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                 Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                     If this is a joint petition:
                                                                                                                 Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                Information Regarding the Debtor - Venue
                                                                                                                                                                             (Check any applicable box)
                                                                                                                             Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                             preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                             There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                             Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                             has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                             this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                              (Check all applicable boxes)
                                                                                                                             Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                             (Name of landlord that obtained judgment)


                                                                                                                                                                              (Address of landlord)
                                                                                                                             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                             Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                             filing of the petition.
                                                                                                                             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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                                                                                                    B1 (Official Form 1) (04/13)                                   Document Page 3 of 55                                                                                            Page 3
                                                                                                    Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                    (This page must be completed and filed in every case)                                 Monica Roccaforte
                                                                                                                                                                                   Signatures
                                                                                                                Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                      I declare under penalty of perjury that the information provided in this petition
                                                                                                      is true and correct.
                                                                                                      [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                      has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                      chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                      available under each such chapter, and choose to proceed under chapter 7.
                                                                                                      [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                      petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                      I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                      I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                      Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                      Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                      title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                                      recognition of the foreign main proceeding is attached.
                                                                                                      X /s/ Monica Roccaforte
                                                                                                          Signature of Debtor                                                                X
                                                                                                                                                                                                 (Signature of Foreign Representative)
                                                                                                      X
                                                                                                          Signature of Joint Debtor

                                                                                                                                                                                                  (Printed Name of Foreign Representative)
                                                                                                           Telephone Number (If not represented by attorney)

                                                                                                           9/19/2014
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                                                                                                                                                                                                   (Date)
                                                                                                           Date

                                                                                                                           Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
                                                                                                     X       /s/ James J. Cerbone
                                                                                                          Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                            as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                          JAMES J. CERBONE JJC4036                                                          and have provided the debtor with a copy of this document and the notices and
                                                                                                          Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                            information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                            rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                                                                                                            setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                          Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                          2430 Route 34                                                                     document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                          Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                          Building B, Suite 22 Wall, NJ 08736
                                                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                          732-681-6800
                                                                                                         Telephone Number
                                                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                          9/19/2014                                                                         state the Social Security number of the officer, principal, responsible person or
                                                                                                        Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                     certification that the attorney has no knowledge after an inquiry that the
                                                                                                     information in the schedules is incorrect.                                              Address

                                                                                                             Signature of Debtor (Corporation/Partnership)
                                                                                                       I declare under penalty of perjury that the information provided in this petition
                                                                                                       is true and correct, and that I have been authorized to file this petition on       X
                                                                                                       behalf of the debtor.

                                                                                                       The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                       United States Code, specified in this petition.
                                                                                                                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                               person, or partner whose Social Security number is provided above.
                                                                                                     X
                                                                                                          Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                               not an individual:
                                                                                                          Printed Name of Authorized Individual
                                                                                                                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                               conforming to the appropriate official form for each person.
                                                                                                          Title of Authorized Individual
                                                                                                                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                               and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                         Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                        Case 14-29261-MBK                        Doc 1   Filed 09/19/14 Entered 09/19/14 16:54:43     Desc Main
                                                                                                                                                         Document Page 4 of 55
                                                                                                    B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                                                                                                           District of New Jersey




                                                                                                          Monica Roccaforte
                                                                                                    In re______________________________________                                     Case No._____________
                                                                                                                   Debtor(s)                                                              (if known)


                                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                               CREDIT COUNSELING REQUIREMENT

                                                                                                            Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                    credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                    case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                    filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                    you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                    required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                    collection activities.
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                                                                                                           Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                    must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                    any documents as directed.

                                                                                                           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                    from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                    administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                    performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                    services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                    developed through the agency.

                                                                                                            2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                    from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                    administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                    performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                    the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                    services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                    no later than 14 days after your bankruptcy case is filed.
                                                                                                        Case 14-29261-MBK                    Doc 1   Filed 09/19/14 Entered 09/19/14 16:54:43   Desc Main
                                                                                                    B1 D (Official Form 1, Exh. D) (12/09) – Cont.
                                                                                                                                                     Document Page 5 of 55                      Page 2


                                                                                                            3. I certify that I requested credit counseling services from an approved agency but
                                                                                                    was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                    following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                    so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                           If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                    counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                    promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                    copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                    requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                    can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                    be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                    without first receiving a credit counseling briefing.

                                                                                                           4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                    applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                           illness or mental deficiency so as to be incapable of realizing and making rational
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                                                                                                           decisions with respect to financial responsibilities.);
                                                                                                                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                           extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                           briefing in person, by telephone, or through the Internet.);
                                                                                                                   Active military duty in a military combat zone.

                                                                                                           5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                    counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                           I certify under penalty of perjury that the information provided above is true and
                                                                                                    correct.



                                                                                                                                 Signature of Debtor:             /s/ Monica Roccaforte
                                                                                                                                                                 MONICA ROCCAFORTE

                                                                                                                                                              9/19/2014
                                                                                                                                                     Date: _________________
                                                                                                    Case 14-29261-MBK         Doc 1     Filed 09/19/14 Entered 09/19/14 16:54:43               Desc Main
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                                                                                                      B6 Cover (Form 6 Cover) (12/07)



                                                                                                       FORM 6. SCHEDULES

                                                                                                       Summary of Schedules
                                                                                                       Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                       Schedule A - Real Property
                                                                                                       Schedule B - Personal Property
                                                                                                       Schedule C - Property Claimed as Exempt
                                                                                                       Schedule D - Creditors Holding Secured Claims
                                                                                                       Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                       Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                       Schedule G - Executory Contracts and Unexpired Leases
                                                                                                       Schedule H - Codebtors
                                                                                                       Schedule I - Current Income of Individual Debtor(s)
                                                                                                       Schedule J - Current Expenditures of Individual Debtor(s)
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                                                                                                       Unsworn Declaration under Penalty of Perjury

                                                                                                       GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                       amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                       identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                       the case number should be left blank

                                                                                                       Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                       claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                       A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                       which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                       the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                       transactions, each claim should be scheduled separately.

                                                                                                       Review the specific instructions for each schedule before completing the schedule.
                                                                                                              Case
                                                                                                    B6A (Official Form14-29261-MBK
                                                                                                                      6A) (12/07)                   Doc 1       Filed 09/19/14 Entered 09/19/14 16:54:43                                               Desc Main
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                                                                                                    In re    Monica Roccaforte                                                                     Case No.
                                                                                                                               Debtor                                                                                                     (If known)

                                                                                                                                                    SCHEDULE A - REAL PROPERTY
                                                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                    tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                    the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                    “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                    “Description and Location of Property.”

                                                                                                      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                    Unexpired Leases.

                                                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                    claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                    Property Claimed as Exempt.




                                                                                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                                                            OR COMMUNITY
                                                                                                                                                                                                                                   CURRENT VALUE
                                                                                                                                                                                                                                     OF DEBTOR’S
                                                                                                                  DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN         AMOUNT OF
                                                                                                                         OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT        SECURED
                                                                                                                                                                                                                                   DEDUCTING ANY           CLAIM
                                                                                                                                                                                                                                   SECURED CLAIM
                                                                                                                                                                                                                                    OR EXEMPTION
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                                                                                                     Single Family Home: 1401 Highway 70 Whiting                   12.5% with husband                         J                         275,000.00              None
                                                                                                     NJ
                                                                                                     12.5% interest




                                                                                                                                                                                                  Total
                                                                                                                                                                                                                                        275,000.00

                                                                                                                                                                                                  (Report also on Summary of Schedules.)
                                                                                                              Case
                                                                                                    B6B (Official Form14-29261-MBK
                                                                                                                       6B) (12/07)                          Doc 1    Filed 09/19/14 Entered 09/19/14 16:54:43                                         Desc Main
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                                                                                                    In re     Monica Roccaforte                                                                  Case No.
                                                                                                                                      Debtor                                                                             (If known)

                                                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                                         Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                    place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                    identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                    community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                    individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                    Unexpired Leases.

                                                                                                          If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                    If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                    "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                      CURRENT VALUE OF




                                                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                                                      DEBTOR’S INTEREST
                                                                                                                                                            N                                                                                            IN PROPERTY,
                                                                                                                TYPE OF PROPERTY                            O                 DESCRIPTION AND LOCATION                                                     WITHOUT
                                                                                                                                                            N                       OF PROPERTY                                                        DEDUCTING ANY
                                                                                                                                                            E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                                        OR EXEMPTION


                                                                                                      1. Cash on hand.                                      X
                                                                                                      2. Checking, savings or other financial
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                                                                                                                                                                Checking account with Bank of Amercia                              J                            51.00
                                                                                                      accounts, certificates of deposit, or shares in
                                                                                                      banks, savings and loan, thrift, building and
                                                                                                      loan, and homestead associations, or credit
                                                                                                      unions, brokerage houses, or cooperatives.


                                                                                                      3. Security deposits with public utilities,           X
                                                                                                      telephone companies, landlords, and others.

                                                                                                      4. Household goods and furnishings, including             Miscellaneous household goods                                      J                         3,500.00
                                                                                                      audio, video, and computer equipment.

                                                                                                      5. Books. Pictures and other art objects,             X
                                                                                                      antiques, stamp, coin, record, tape, compact disc,
                                                                                                      and other collections or collectibles.

                                                                                                      6. Wearing apparel.                                       Miscellaneous wearing apparel                                      J                           300.00
                                                                                                      7. Furs and jewelry.                                      Miscellaneous jewelry                                              J                           300.00
                                                                                                      8. Firearms and sports, photographic, and             X
                                                                                                      other hobby equipment.

                                                                                                      9. Interests in insurance policies. Name              X
                                                                                                      insurance company of each policy and itemize
                                                                                                      surrender or refund value of each.

                                                                                                      10. Annuities. Itemize and name each issuer.          X
                                                                                                      11. Interests in an education IRA as defined in       X
                                                                                                      26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                                      tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                      Give particulars. (File separately the record(s) of
                                                                                                      any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                      12. Interests in IRA, ERISA, Keogh, or other          X
                                                                                                      pension or profit sharing plans. Give particulars.

                                                                                                      13. Stock and interests in incorporated and           X
                                                                                                      unincorporated businesses. Itemize.
                                                                                                               Case
                                                                                                    B6B (Official Form14-29261-MBK
                                                                                                                      6B) (12/07) -- Cont.                   Doc 1   Filed 09/19/14 Entered 09/19/14 16:54:43                       Desc Main
                                                                                                                                                                     Document Page 9 of 55
                                                                                                    In re     Monica Roccaforte                                                              Case No.
                                                                                                                                      Debtor                                                            (If known)

                                                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                      (Continuation Sheet)




                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                             N                                                                         IN PROPERTY,
                                                                                                                TYPE OF PROPERTY                             O             DESCRIPTION AND LOCATION                                      WITHOUT
                                                                                                                                                             N                   OF PROPERTY                                         DEDUCTING ANY
                                                                                                                                                             E                                                                       SECURED CLAIM
                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                      14. Interests in partnerships or joint ventures.       X
                                                                                                      Itemize.

                                                                                                      15. Government and corporate bonds and other           X
                                                                                                      negotiable and non-negotiable instruments.

                                                                                                      16. Accounts receivable.                               X
                                                                                                      17. Alimony, maintenance, support, and                 X
                                                                                                      property settlement to which the debtor is or
                                                                                                      may be entitled. Give particulars.

                                                                                                      18. Other liquidated debts owing debtor                X
                                                                                                      including tax refunds. Give particulars.

                                                                                                      19. Equitable or future interests, life estates, and   X
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                                                                                                      rights or powers exercisable for the benefit of
                                                                                                      the debtor other than those listed in Schedule A -
                                                                                                      Real Property.

                                                                                                      20. Contingent and noncontingent interests in          X
                                                                                                      estate or a decedent, death benefit plan, life
                                                                                                      insurance policy, or trust.

                                                                                                      21. Other contingent and unliquidated claims of        X
                                                                                                      every nature, including tax refunds,
                                                                                                      counterclaims of the debtor, and rights of setoff
                                                                                                      claims. Give estimated value of each.

                                                                                                      22. Patents, copyrights, and other intellectual        X
                                                                                                      property. Give particulars.

                                                                                                      23. Licenses, franchises, and other general            X
                                                                                                      intangibles. Give particulars.

                                                                                                      24. Customer lists or other compilations               X
                                                                                                      containing personally identifiable information
                                                                                                      (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                                      the debtor by individuals in connection with
                                                                                                      obtaining a product or service from the debtor
                                                                                                      primarily for personal, family, or household
                                                                                                      purposes.

                                                                                                      25. Automobiles, trucks, trailers, and other           X
                                                                                                      vehicles and accessories.

                                                                                                      26. Boats, motors, and accessories.                    X
                                                                                                      27. Aircraft and accessories.                          X
                                                                                                      28. Office equipment, furnishings, and supplies.       X
                                                                                                      29. Machinery, fixtures, equipment, and                X
                                                                                                      supplies used in business.

                                                                                                      30. Inventory.                                         X
                                                                                                      31. Animals.                                           X
                                                                                                             Case
                                                                                                    B6B (Official    14-29261-MBK
                                                                                                                  Form 6B) (12/07) -- Cont.            Doc 1    Filed 09/19/14 Entered 09/19/14 16:54:43                                           Desc Main
                                                                                                                                                               Document Page 10 of 55
                                                                                                    In re    Monica Roccaforte                                                           Case No.
                                                                                                                                    Debtor                                                                        (If known)

                                                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                            HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                   CURRENT VALUE OF




                                                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                                                   DEBTOR’S INTEREST
                                                                                                                                                      N                                                                                               IN PROPERTY,
                                                                                                                TYPE OF PROPERTY                      O              DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                      N                    OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                      E                                                                                             SECURED CLAIM
                                                                                                                                                                                                                                                     OR EXEMPTION


                                                                                                      32. Crops - growing or harvested. Give          X
                                                                                                      particulars.

                                                                                                      33. Farming equipment and implements.           X
                                                                                                      34. Farm supplies, chemicals, and feed.         X
                                                                                                      35. Other personal property of any kind not     X
                                                                                                      already listed. Itemize.
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                                                                                                                                                                         0      continuation sheets attached        Total                          $      4,151.00
                                                                                                                                                                                (Include amounts from any continuation
                                                                                                                                                                                  sheets attached. Report total also on
                                                                                                                                                                                        Summary of Schedules.)
                                                                                                                Case 14-29261-MBK                Doc 1      Filed 09/19/14 Entered 09/19/14 16:54:43                            Desc Main
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                                                                                                    In re    Monica Roccaforte                                                               Case No.
                                                                                                                               Debtor                                                                              (If known)

                                                                                                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                      Debtor claims the exemptions to which debtor is entitled under:
                                                                                                      (Check one box)

                                                                                                            11 U.S.C. § 522(b)(2)                                            Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                             $155,675*.
                                                                                                            11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                               CURRENT
                                                                                                                                                                   SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                    EXEMPTION                        EXEMPTION                EXEMPTION


                                                                                                       Single Family Home: 1401 Highway 70             11 U.S.C. 522(d)(1)                                 22,975.00                 275,000.00
                                                                                                       Whiting NJ

                                                                                                       Checking account with Bank of Amercia           11 U.S.C. 522(d)(5)                                     51.00                       51.00

                                                                                                       Miscellaneous household goods                   11 U.S.C. 522(d)(3)                                  3,500.00                     3,500.00

                                                                                                       Miscellaneous wearing apparel                   11 U.S.C. 522(d)(3)                                    300.00                      300.00
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                                                                                                       Miscellaneous jewelry                           11 U.S.C. 522(d)(4)                                    300.00                      300.00




                                                                                                     *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                            Case 14-29261-MBK                   Doc 1                                 Filed 09/19/14 Entered 09/19/14 16:54:43                                        Desc Main
                                                                                                                                                                                     Document Page 12 of 55
                                                                                                    B6D (Official Form 6D) (12/07)

                                                                                                             Monica Roccaforte
                                                                                                    In re _______________________________________________,                                                          Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                           (If known)

                                                                                                                       SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                              State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                    by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                    useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                    such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                               List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                    address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                    §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                    include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                    husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                    "Husband, Wife, Joint, or Community."
                                                                                                              If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                    labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                    one of these three columns.)
                                                                                                              Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                    labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                    Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                    the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                               AMOUNT
                                                                                                                                                              HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                                                                        DATE CLAIM WAS INCURRED,                                                  OF
                                                                                                                                                   CODEBTOR




                                                                                                                                                                                                                                                  DISPUTED
                                                                                                                                                                ORCOMMUNITY




                                                                                                               CREDITOR’S NAME,
                                                                                                                MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                  CLAIM           UNSECURED
                                                                                                              INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                    WITHOUT           PORTION,
                                                                                                             AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                  DEDUCTING           IF ANY
                                                                                                               (See Instructions Above.)                                                     SUBJECT TO LIEN                                                   VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL


                                                                                                    ACCOUNT NO.




                                                                                                                                                                                      VALUE $
                                                                                                    ACCOUNT NO.




                                                                                                                                                                                      VALUE $
                                                                                                    ACCOUNT NO.




                                                                                                                                                                                      VALUE $

                                                                                                       0
                                                                                                     _______ continuation sheets attached                                                                            Subtotal     $                                0.00    $          0.00
                                                                                                                                                                                                             (Total of this page)
                                                                                                                                                                                                                         Total    $                                0.00    $          0.00
                                                                                                                                                                                                          (Use only on last page)
                                                                                                                                                                                                                                                   (Report also on       (If applicable, report
                                                                                                                                                                                                                                                   Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                         Summary of Certain
                                                                                                                                                                                                                                                                         Liabilities and Related
                                                                                                                                                                                                                                                                         Data.)
                                                                                                           Case 14-29261-MBK                    Doc 1        Filed 09/19/14 Entered 09/19/14 16:54:43                                       Desc Main
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                                                                                                    B6E (Official Form 6E) (04/13)


                                                                                                              Monica Roccaforte
                                                                                                       In re________________________________________________________________,                             Case No.______________________________
                                                                                                                               Debtor                                                                                   (if known)

                                                                                                            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                             A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                      unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                      address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                      property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                      the type of priority.

                                                                                                             The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                      the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                      "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                      entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                      both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                      Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                      in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                      more than one of these three columns.)

                                                                                                            Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                      Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                      amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
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                                                                                                      primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                               Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                      amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                      with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                      Data.



                                                                                                          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                     TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                                           Domestic Support Obligations

                                                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                    11 U.S.C. § 507(a)(1).


                                                                                                           Extensions of credit in an involuntary case

                                                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                    appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                           Wages, salaries, and commissions

                                                                                                             Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                     independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                           Contributions to employee benefit plans

                                                                                                                Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                             *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                      B6E (Official Form 6E) (04/13) - Cont.

                                                                                                                  Monica Roccaforte
                                                                                                          In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                  Debtor                                                                            (if known)




                                                                                                           Certain farmers and fishermen
                                                                                                         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                           Deposits by individuals
                                                                                                         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                     that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                           Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                           Commitments to Maintain the Capital of an Insured Depository Institution
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                                                                                                        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                     Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                     U.S.C. § 507 (a)(9).



                                                                                                           Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                                           * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                           adjustment.




                                                                                                                                                               0
                                                                                                                                                              ____ continuation sheets attached
                                                                                                              Case 14-29261-MBK                       Doc 1                                 Filed 09/19/14 Entered 09/19/14 16:54:43                                               Desc Main
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                                                                                                    B6F (Official Form 6F) (12/07)

                                                                                                             Monica Roccaforte
                                                                                                     In re __________________________________________,                                                                   Case No. _________________________________
                                                                                                                                    Debtor                                                                                                                          (If known)

                                                                                                          SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                     against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                     useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                     of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                     1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                     appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                     community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                               If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                     "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                               Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                     Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                     Related Data.
                                                                                                              Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                                                CREDITOR’S NAME,                                                                                                                                                    AMOUNT
                                                                                                                 MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                        OF
                                                                                                               INCLUDING ZIP CODE,                                                                                                                                                   CLAIM
                                                                                                              AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                                (See instructions above.)
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                                                                                                    ACCOUNT NO.         2121                                                               Consideration: Consumer Credit
                                                                                                    Ashton Drake Galleries
                                                                                                    Attn: National Recovery Agency                                                                                                                                                           250.00
                                                                                                    2491 Paxton Street
                                                                                                    Harrisburg, PA 17111


                                                                                                    ACCOUNT NO.         900669                                                             Consideration: Collection for Consumer
                                                                                                                                                                                           Credit
                                                                                                    BMG Music Service
                                                                                                    Attn: Trident Asset Management                                                                                                                                                           199.00
                                                                                                    5755 N Point Pkwy
                                                                                                    Suite 12
                                                                                                    Alpharetta, GA 30022

                                                                                                    ACCOUNT NO.         1265320                                                            Consideration: Medical Services
                                                                                                    Brick Cardio Specialisits
                                                                                                    147 Route 37 West Ste 3                                                                                                                                                                   30.00
                                                                                                    Toms River, NJ 08755-8062



                                                                                                    ACCOUNT NO.                                                                            Consideration: Consumer Credit
                                                                                                    Capital One Bank
                                                                                                    PO Box 71083                                                                                                                                                                             718.00
                                                                                                    Charlotte, NC 28272-1083




                                                                                                          6
                                                                                                        _______ continuation sheets attached                                                                                          Subtotal                                 $         1,197.00
                                                                                                                                                                                                                        Total                                                  $
                                                                                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                                                                                     (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                           Summary of Certain Liabilities and Related Data.)
                                                                                                            Case 14-29261-MBK                    Doc 1                                 Filed 09/19/14 Entered 09/19/14 16:54:43                                                       Desc Main
                                                                                                                                                                                      Document Page 16 of 55
                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                              Monica Roccaforte
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.                                                                        Consideration: Medical Services
                                                                                                    Colts Neck Neurology
                                                                                                    20 Hospital Dr                                                                                                                                                                               1,945.00
                                                                                                    Toms River, NJ 08755
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                                                                                                    ACCOUNT NO.      3413                                                              Consideration: Consumer Credit
                                                                                                    Columbia House DVD Club Account
                                                                                                    Attn: Receivables Performance                                                                                                                                                                 113.00
                                                                                                    20816 44th Avenue West
                                                                                                    Lynwood, WA 98036


                                                                                                    ACCOUNT NO.      06523028                                                          Consideration: Medical Services
                                                                                                    Community EMA
                                                                                                    PO Box 417442                                                                                                                                                                                1,530.00
                                                                                                    Boston, MA 02241-7442



                                                                                                    ACCOUNT NO.      284718394432                                                      Consideration: Medical Services
                                                                                                    Community Medical Center
                                                                                                    Attn: RMB, Inc                                                                                                                                                                        Notice Only
                                                                                                    409 Bearden Park Circle
                                                                                                    Knoxville, TN 37919


                                                                                                     ACCOUNT NO.     D33455                                                            Consideration: Medical Services
                                                                                                    Community Medical Center
                                                                                                    Attn: Senex Services                                                                                                                                                                  Notice Only
                                                                                                    3500 Depauw Blvd Ste 3050
                                                                                                    Indianapolis, IN 46268-1138


                                                                                                               1 of _____continuation
                                                                                                    Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $          3,588.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                            Case 14-29261-MBK                    Doc 1                                 Filed 09/19/14 Entered 09/19/14 16:54:43                                                       Desc Main
                                                                                                                                                                                      Document Page 17 of 55
                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                              Monica Roccaforte
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      1409005035                                                        Consideration: Medical Services
                                                                                                    Community Medical Center
                                                                                                    Attn: UTC                                                                                                                                                                                  26.00
                                                                                                    Billing Department
                                                                                                    PO Box 145465
                                                                                                    Cincinnati, OH 45250-5465
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                                                                                                    ACCOUNT NO.      1004794720                                                        Consideration: Medical Services
                                                                                                                                                                                       1004760309
                                                                                                    Community Medical Center
                                                                                                    PO Box 29969                                                                                                                                                                            3,533.00
                                                                                                    New York, NY 10087-9969



                                                                                                    ACCOUNT NO.                                                                        Consideration: Medical Services
                                                                                                    Community Medical Center
                                                                                                    PO Box 29969                                                                                                                                                                              506.00
                                                                                                    New York, NY 10087-9969



                                                                                                    ACCOUNT NO.      1004794720                                                        Consideration: Medical Services
                                                                                                    Community Medical Center
                                                                                                    PO Box 29969                                                                                                                                                                            1,760.00
                                                                                                    New York, NY 10087-9969



                                                                                                     ACCOUNT NO.     90089                                                             Consideration: Consumer Credit
                                                                                                    Dish Network
                                                                                                    Attn: Stellar Recovery                                                                                                                                                                    365.00
                                                                                                    1327 Highway 2 West
                                                                                                     Suite 100
                                                                                                    Kalispell, MT 59901

                                                                                                               2 of _____continuation
                                                                                                    Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $     6,190.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                            Case 14-29261-MBK                    Doc 1                                 Filed 09/19/14 Entered 09/19/14 16:54:43                                                       Desc Main
                                                                                                                                                                                      Document Page 18 of 55
                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                              Monica Roccaforte
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      855949                                                            Consideration: Consumer Credit
                                                                                                                                                                                       Webbank
                                                                                                    Fingerhut
                                                                                                    Attn: Midland Funding                                                                                                                                                                 Notice Only
                                                                                                    PO Box 60578
                                                                                                    Los Angeles, CA 90060-0578
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                                                                                                    ACCOUNT NO.      627645607993                                                      Consideration: Consumer Credit
                                                                                                    Fingerhut
                                                                                                    PO Box 166                                                                                                                                                                                    492.00
                                                                                                    Newark, NJ 07101-0166



                                                                                                    ACCOUNT NO.      154663                                                            Consideration: Medical Services
                                                                                                    Gastroenterologists of Ocean County
                                                                                                    477 Lakehurst Road                                                                                                                                                                           1,750.00
                                                                                                    Toms River,, NJ 08755



                                                                                                    ACCOUNT NO.                                                                        Consideration: Consumer Credit
                                                                                                                                                                                       Amazon
                                                                                                    GE Money Bank
                                                                                                    Bankruptcy Dept                                                                                                                                                                               246.00
                                                                                                    PO Box 103104
                                                                                                    Roswell, GA 30076


                                                                                                     ACCOUNT NO.     9007985912                                                        Consideration: Consumer credit
                                                                                                    JCP&L
                                                                                                    Attn: Trident Asset Management                                                                                                                                                        Notice Only
                                                                                                    5755 N Point Pkwy
                                                                                                    Suite 12
                                                                                                    Alpharetta, GA 30022

                                                                                                               3 of _____continuation
                                                                                                    Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $          2,488.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                            Case 14-29261-MBK                    Doc 1                                 Filed 09/19/14 Entered 09/19/14 16:54:43                                                       Desc Main
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                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                              Monica Roccaforte
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      9007985912                                                        Consideration: Consumer credit
                                                                                                    JCP&L
                                                                                                    PO Box 3687                                                                                                                                                                                     43.00
                                                                                                    Akron, OH 44309-3687
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                                                                                                    ACCOUNT NO.      PT00002867                                                        Consideration: Medical Services
                                                                                                    Jersey Pulmonary Care
                                                                                                    9 Hospital Drive, Suite A18                                                                                                                                                                   296.00
                                                                                                    Toms River, NJ 08755-6425



                                                                                                    ACCOUNT NO.      1409882                                                           Consideration: Collection for Medical
                                                                                                                                                                                       Services
                                                                                                    Jersey Pulmonary Care
                                                                                                    Attn: Capital Accounts                                                                                                                                                                Notice Only
                                                                                                    PO Box 140065
                                                                                                    Nashville, TN 37214


                                                                                                    ACCOUNT NO.      505510047947201                                                   Consideration: Medical Services
                                                                                                                                                                                       50555818441
                                                                                                    Medical Radiology Group
                                                                                                    PO Box 11268                                                                                                                                                                                  261.00
                                                                                                    Lancaster, PA 17605-1268



                                                                                                     ACCOUNT NO.     DC-6739-14                                                        Consideration: Consumer Credit
                                                                                                    Midland Funding
                                                                                                    Attn: Lyons Doughty Veldhuis                                                                                                                                                          Notice Only
                                                                                                    PO Box 1269
                                                                                                    Mount Laurel, NJ 08054


                                                                                                               4 of _____continuation
                                                                                                    Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $           600.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                            Case 14-29261-MBK                    Doc 1                                 Filed 09/19/14 Entered 09/19/14 16:54:43                                                       Desc Main
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                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                              Monica Roccaforte
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      70181                                                             Consideration: Medical Services
                                                                                                    NJ Heart Institute, PA
                                                                                                    20 Hospital Drive                                                                                                                                                                       1,400.00
                                                                                                    Suite 12B
                                                                                                    Toms River, NJ 08755-6434
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                                                                                                    ACCOUNT NO.      20184                                                             Consideration: Medical Services
                                                                                                    Ocean Heart Group
                                                                                                    1530 Route 88 West                                                                                                                                                                        600.00
                                                                                                    Brick, NJ 08724-2390



                                                                                                    ACCOUNT NO.      42491004794720                                                    Consideration: Medical Services
                                                                                                                                                                                       42491004760306
                                                                                                    Ocean Pathology
                                                                                                    PO Box 60100                                                                                                                                                                            1,280.00
                                                                                                    Charleston, SC 29419-0100



                                                                                                    ACCOUNT NO.      29506                                                             Consideration: Medical Services
                                                                                                    Presription Hope
                                                                                                    Attn: Meade & Associates                                                                                                                                                                   61.00
                                                                                                    737 Enterprise Drive
                                                                                                    Westerville, OH 43081-8850


                                                                                                     ACCOUNT NO.                                                                       Consideration: Medical Services
                                                                                                    Radiology Physicians at Comm Med
                                                                                                    Center                                                                                                                                                                                    261.00
                                                                                                    Attn: Apex Asset Management LLC
                                                                                                    2501Oregon Pike Ste 102
                                                                                                    Lancaster, PA 17601-4890

                                                                                                               5 of _____continuation
                                                                                                    Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $     3,602.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                            Case 14-29261-MBK                    Doc 1                                 Filed 09/19/14 Entered 09/19/14 16:54:43                                                       Desc Main
                                                                                                                                                                                      Document Page 21 of 55
                                                                                                    B6F (Official Form 6F) (12/07) - Cont.


                                                                                                              Monica Roccaforte
                                                                                                      In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                       Debtor                                                                                                                             (If known)


                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                    CODEBTOR
                                                                                                               CREDITOR’S NAME,
                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                  CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                              INCLUDING ZIP CODE,
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                             AND ACCOUNT NUMBER
                                                                                                               (See instructions above.)


                                                                                                    ACCOUNT NO.      148848                                                            Consideration: Medical Services
                                                                                                    Shore Heart Group
                                                                                                    1820 State Route 33, Ste 4B                                                                                                                                                                     30.00
                                                                                                    Neptune, NJ 07753-4860
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                                                                                                    ACCOUNT NO.      21219013                                                          Consideration: Collection for Consumer
                                                                                                                                                                                       Credit
                                                                                                    The Bradford Exchange
                                                                                                    Attn: National Recovery Agency                                                                                                                                                                  36.00
                                                                                                    2491 Paxton Street
                                                                                                    Harrisburg, PA 17111


                                                                                                    ACCOUNT NO.      49217233                                                          Consideration: Medical Services
                                                                                                    Toms River Anesthesia Associates
                                                                                                    PO Box 13635                                                                                                                                                                                 1,810.00
                                                                                                    Philadelphia, PA 19101



                                                                                                    ACCOUNT NO.      B49312                                                            Consideration: Collection for Medical
                                                                                                                                                                                       Services
                                                                                                    Toms River Anesthesia Associates
                                                                                                    Attn: Savit Collection Agency                                                                                                                                                         Notice Only
                                                                                                    PO box 250
                                                                                                    East Brunswick, NJ 08816-0250


                                                                                                     ACCOUNT NO.




                                                                                                               6 of _____continuation
                                                                                                    Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $          1,876.00
                                                                                                    to Schedule of Creditors Holding Unsecured
                                                                                                    Nonpriority Claims                                                                                                                          Total                                 $         19,541.00
                                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                               Case 14-29261-MBK                 Doc 1       Filed 09/19/14 Entered 09/19/14 16:54:43                               Desc Main
                                                                                                    B6G (Official Form 6G) (12/07)
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                                                                                                            Monica Roccaforte
                                                                                                    In re                                                                              Case No.
                                                                                                                              Debtor                                                                              (if known)

                                                                                                            SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                     State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                     names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                     contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                     guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                            Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                               OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                           NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                                                    Nissan Motor Acceptance Corporation                                           Auto lease
                                                                                                    PO Box 317447
                                                                                                    Pittsburgh, PA 15250-7447
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                                                                                                             Case 14-29261-MBK                  Doc 1       Filed 09/19/14 Entered 09/19/14 16:54:43                               Desc Main
                                                                                                    B6H (Official Form 6H) (12/07)                         Document Page 23 of 55



                                                                                                    In re   Monica Roccaforte                                                         Case No.
                                                                                                                             Debtor                                                                              (if known)


                                                                                                                                                SCHEDULE H - CODEBTORS
                                                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                    debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                    property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                    Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                    name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                    commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                    commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                    parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                    Fed. Bankr. P. 1007(m).
                                                                                                        Check this box if debtor has no codebtors.



                                                                                                                  NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                                   Case 14-29261-MBK                    Doc 1     Filed 09/19/14 Entered 09/19/14 16:54:43                                      Desc Main
                                                                                                                                                                 Document Page 24 of 55
                                                                                                     Fill in this information to identify your case:


                                                                                                     Debtor 1           Monica Roccaforte
                                                                                                                        __________________________________________________________ _________
                                                                                                                         First Name             Middle Name             Last Name

                                                                                                     Debtor 2            __________________________________________________________________
                                                                                                     (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                                                     NJ
                                                                                                     United States Bankruptcy Court for the: ___________________________ District of ________

                                                                                                     Case number         ___________________________________________                                        Check if this is:
                                                                                                      (If known)
                                                                                                                                                                                                               An amended filing
                                                                                                                                                                                                               A supplement showing post-petition
                                                                                                                                                                                                               chapter 13 income as of the following date:
                                                                                                                                                                                                               ________________
                                                                                                    Official Form                     6I                                                                       MM / DD / YYYY


                                                                                                    Schedule I: Your Income                                                                                                                              12/13

                                                                                                    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                    If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                    separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                     Part 1:           Describe Employment


                                                                                                    1. Fill in your employment
                                                                                                        information.                                                          Debtor 1                                       Debtor 2 or non-filing spouse

                                                                                                        If you have more than one job,
                                                                                                        attach a separate page with
                                                                                                                                             Employment status                 Employed                                          Employed
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                                                                                                        information about additional
                                                                                                        employers.                                                        X    Not employed                                  X   Not employed
                                                                                                        Include part-time, seasonal, or
                                                                                                        self-employed work.                                             Retired                                        Retired
                                                                                                                                             Occupation                  __________________ ________________             __________________________________
                                                                                                        Occupation may Include student
                                                                                                        or homemaker, if it applies.
                                                                                                                                             Employer’s name             __________________________________              __________________ ________________


                                                                                                                                             Employer’s address         _______________________________________          _______________________________________
                                                                                                                                                                         Number Street                                    Number   Street

                                                                                                                                                                        _______________________________________          _______________________________________

                                                                                                                                                                        _______________________________________          _______________________________________

                                                                                                                                                                        _______________________________________          _______________________________________
                                                                                                                                                                         City            State  ZIP Code                  City                State ZIP Code

                                                                                                                                             How long employed there?          _______                                     _______

                                                                                                     Part 2:           Give Details About Monthly Income

                                                                                                        Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                        spouse unless you are separated.
                                                                                                        If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                        below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                       For Debtor 1       For Debtor 2 or
                                                                                                                                                                                                                          non-filing spouse
                                                                                                     2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                         deductions). If not paid monthly, calculate what the monthly wage would be.            2.            0.00                     0.00
                                                                                                                                                                                                      $___________           $____________

                                                                                                     3. Estimate and list monthly overtime pay.                                                 3.            0.00
                                                                                                                                                                                                     + $___________      +           0.00
                                                                                                                                                                                                                             $____________


                                                                                                     4. Calculate gross income. Add line 2 + line 3.                                            4.            0.00
                                                                                                                                                                                                      $__________
                                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                                             $____________



                                                                                                    Official Form       6I                                           Schedule I: Your Income                                                         page 1
            Case 14-29261-MBK                                   Doc 1             Filed 09/19/14 Entered 09/19/14 16:54:43                                         Desc Main
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                  Monica Roccaforte
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                                  0.00                     0.00
   Copy line 4 here ............................................................................................   4.      $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.           0.00
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.           0.00
                                                                                                                          $____________                    0.00
                                                                                                                                                   $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.           0.00
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
     5d. Required repayments of retirement fund loans                                                              5d.
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
     5e. Insurance                                                                                                 5e.
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
     5f. Domestic support obligations                                                                              5f.
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
     5g. Union dues                                                                                                5g.
     5h.                              ;
           Other deductions. Specify: __________________________________                                           5h.            0.00
                                                                                                                         + $____________       +           0.00
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________

                                                                                                                                  0.00                     0.00
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                      0.00                     0.00
                                                                                                                          $____________            $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.
                                                                                                                                  0.00                     0.00
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                     0.00
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.           0.00
                                                                                                                          $____________                    0.00
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.       1,226.00
                                                                                                                          $____________                1,856.00
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00                     0.00
                                                                                                                          $____________            $_____________
         Nutrition Assistance Program) or housing subsidies.
                    ;
         Specify: ______________________________________         _____________ 8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                    0.00
                                                                                                                                                   $_____________
                                        ;
     8h. Other monthly income. Specify: __________________ _____________                                           8h.            0.00
                                                                                                                         + $____________                 0.00
                                                                                                                                               + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.        1,226.00
                                                                                                                          $____________                1,856.00
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                             1,226.00
                                                                                                                          $___________     +          1,856.00 = $_____________
                                                                                                                                                   $_____________     3,082.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                   0.00
                                                                                                                                                                  11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             3,082.00
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                  12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                               page 2
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                                                                                                      Fill in this information to identify your case:

                                                                                                      Debtor 1           Monica Roccaforte
                                                                                                                        __________________________________________________________________
                                                                                                                          First Name              Middle Name             Last Name                       Check if this is:
                                                                                                      Debtor 2            ________________________________________________________________
                                                                                                      (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                                                                                                                              An amended filing
                                                                                                                                                                                                              A supplement showing post-petition chapter 13
                                                                                                      United States Bankruptcy Court for the: ___________________________ District of NJ
                                                                                                                                                                                      ________
                                                                                                                                                                                                              expenses as of the following date:
                                                                                                                                                                                                              ________________
                                                                                                      Case number         ___________________________________________                                         MM / DD / YYYY
                                                                                                      (If known)
                                                                                                                                                                                                              A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                              maintains a separate household
                                                                                                    Official Form                      6J
                                                                                                    Schedule J: Your Expenses                                                                                                                            12/13

                                                                                                    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                                    information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                                                    (if known). Answer every question.

                                                                                                     Part 1:            Describe Your Household

                                                                                                    1. Is this a joint case?
                                                                                                       X    No. Go to line 2.
                                                                                                            Yes. Does Debtor 2 live in a separate household?

                                                                                                                         No
                                                                                                                         Yes. Debtor 2 must file a separate Schedule J.

                                                                                                    2. Do you have dependents?
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                                                                                                                                                X   No                                 Dependent’s relationship to              Dependent’s    Does dependent live
                                                                                                       Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age            with you?
                                                                                                       Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                                                                                   No
                                                                                                       Do not state the dependents’                                                    __________________ _______               ________
                                                                                                       names.                                                                                                                                      Yes

                                                                                                                                                                                       __________________ _______               ________           No
                                                                                                                                                                                                                                                   Yes

                                                                                                                                                                                       __________________ _______               ________           No
                                                                                                                                                                                                                                                   Yes

                                                                                                                                                                                       __________________ _______               ________           No
                                                                                                                                                                                                                                                   Yes

                                                                                                                                                                                       __________________ _______               ________           No
                                                                                                                                                                                                                                                   Yes

                                                                                                    3. Do your expenses include                 X   No
                                                                                                       expenses of people other than
                                                                                                       yourself and your dependents?                Yes

                                                                                                    Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                    Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                    expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                    applicable date.
                                                                                                    Include expenses paid for with non-cash government assistance if you know the value
                                                                                                    of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                         Your expenses

                                                                                                     4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                0.00
                                                                                                                                                                                                                                  $_____________________
                                                                                                         any rent for the ground or lot.                                                                                  4.

                                                                                                         If not included in line 4:
                                                                                                         4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                                                                                                                   584.00
                                                                                                                                                                                                                                  $_____________________
                                                                                                         4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                      0.00
                                                                                                                                                                                                                                  $_____________________
                                                                                                         4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                   100.00
                                                                                                                                                                                                                                  $_____________________
                                                                                                         4d.    Homeowner’s association or condominium dues                                                               4d.                      0.00
                                                                                                                                                                                                                                  $_____________________

                                                                                                    Official Form         6J                                      Schedule J: Your Expenses                                                          page 1
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 Debtor 1         Monica Roccaforte
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                     0.00
                                                                                                                     $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:
                                                                                                                                      300.00
      6a.   Electricity, heat, natural gas                                                                    6a.    $_________________ ____
                                                                                                                                        75.00
      6b.   Water, sewer, garbage collection                                                                  6b.    $_________________ ____
                                                                                                                                      265.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_________________ ____
                                                                                                                                         0.00
      6d.   Other. Specify: _______________________________________________                                   6d.    $_________________ ____
                                                                                                                                      350.00
 7. Food and housekeeping supplies                                                                            7.     $_________________ ____
                                                                                                                                         0.00
 8. Childcare and children’s education costs                                                                  8.     $_________________ ____
                                                                                                                                        50.00
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_________________ ____
                                                                                                                                        25.00
10.   Personal care products and services                                                                     10.    $_________________ ____
                                                                                                                                      100.00
11.   Medical and dental expenses                                                                             11.    $_________________ ____

12.   Transportation. Include gas, maintenance, bus or train fare.                                                                    300.00
                                                                                                                     $_________________ ____
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                  100.00
                                                                                                                     $_________________ ____
14.   Charitable contributions and religious donations                                                        14.                    0.00
                                                                                                                     $_________________ ____
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                         0.00
                                                                                                                     $_________________ ____
      15b. Health insurance                                                                                   15b.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      15c. Vehicle insurance                                                                                  15c.                 300.00
                                                                                                                     $_________________ ____
      15d. Other insurance. Specify:_________________________ ______________                                  15d.                   0.00
                                                                                                                     $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      Specify: ______________________________________ __________________                                      16.

17.   Installment or lease payments:
                                                                                                                                         0.00
      17a. Car payments for Vehicle 1                                                                         17a.   $_________________ ____
                                                                                                                                         0.00
      17b. Car payments for Vehicle 2                                                                         17b.   $_________________ ____
                                                                                                                                      325.00
      17c. Other. Specify:_________________________________ ______________                                    17c.   $_________________ ____
                                                                                                                                         0.00
      17d. Other. Specify:_________________________________ ______________                                    17d.   $_________________ ____

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                            0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                     18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                   0.00
                                                                                                                     $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.
                                                                                                                                      0.00
                                                                                                                     $_____________________
                                                                                                                                         0.00
                                                                                                                     $_____________________
      20b. Real estate taxes                                                                                  20b.

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.
                                                                                                                                     0.00
                                                                                                                     $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                   page 2
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 Debtor 1         Monica Roccaforte
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                                            0.00
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               2,874.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                       3,082.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 2,874.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                    208.00
                                                                                                                         $_________________ ____
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      X   No.
          Yes.     Explain here:




 Official Form     6J                                         Schedule J: Your Expenses                                                       page 3
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                                                                                                          B6 Summary (Official Form 6 - Summary) (12/13)




                                                                                                                                               United States Bankruptcy Court
                                                                                                                      Monica Roccaforte
                                                                                                                                                               District of New Jersey

                                                                                                         In re                                                                                        Case No.
                                                                                                                                                           Debtor
                                                                                                                                                                                                      Chapter        13

                                                                                                                                                         SUMMARY OF SCHEDULES
                                                                                                    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                    I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                    claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                    Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                               AMOUNTS SCHEDULED
                                                                                                                                                   ATTACHED
                                                                                                      NAME OF SCHEDULE                              (YES/NO)        NO. OF SHEETS            ASSETS               LIABILITIES            OTHER

                                                                                                      A – Real Property
                                                                                                                                                   YES                     1            $    275,000.00
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                                                                                                      B – Personal Property
                                                                                                                                                   YES                     3            $      4,151.00

                                                                                                      C – Property Claimed
                                                                                                          as exempt                                YES                     1

                                                                                                      D – Creditors Holding
                                                                                                         Secured Claims                            YES                     1                                  $           0.00

                                                                                                      E - Creditors Holding Unsecured
                                                                                                          Priority Claims                                                                                     $
                                                                                                         (Total of Claims on Schedule E)
                                                                                                                                                   YES                     2                                              0.00

                                                                                                      F - Creditors Holding Unsecured                                                                         $
                                                                                                          Nonpriority Claims                       YES                     7                                         19,541.00

                                                                                                      G - Executory Contracts and
                                                                                                          Unexpired Leases                         YES                     1


                                                                                                      H - Codebtors                                YES                     1

                                                                                                      I - Current Income of
                                                                                                          Individual Debtor(s)                     YES                     2                                                        $     3,082.00

                                                                                                      J - Current Expenditures of Individual
                                                                                                          Debtors(s)                               YES                     3                                                        $     2,874.00


                                                                                                                                           TOTAL                           22           $    279,151.00       $      19,541.00
                                                                                                      Official
                                                                                                        Case   Form 6 - Statistical Summary
                                                                                                                 14-29261-MBK            Doc(12/13)
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                                                                                                                                          United States Bankruptcy Court
                                                                                                                                                               District of New Jersey

                                                                                                                 In re       Monica Roccaforte                                                       Case No.
                                                                                                                                                           Debtor
                                                                                                                                                                                                     Chapter      13

                                                                                                    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                    §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                          Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                    information here.

                                                                                                    This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                    Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                       Type of Liability                                                             Amount
                                                                                                       Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                              0.00
                                                                                                       Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                                       Schedule E)
                                                                                                                                                                                              0.00
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                                                                                                       Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                       Schedule E) (whether disputed or undisputed)                                           0.00
                                                                                                       Student Loan Obligations (from Schedule F)                                $
                                                                                                                                                                                              0.00
                                                                                                       Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                       Obligations Not Reported on Schedule E                                                 0.00
                                                                                                       Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                                       (from Schedule F)                                                                      0.00

                                                                                                                                                                        TOTAL    $            0.00


                                                                                                      State the Following:
                                                                                                       Average Income (from Schedule I, Line 12)                                 $       3,082.00
                                                                                                       Average Expenses (from Schedule J, Line 22)                               $
                                                                                                                                                                                         2,874.00
                                                                                                       Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                       22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                              0.00


                                                                                                      State the Following:
                                                                                                       1. Total from Schedule D, “UNSECURED PORTION, IF                                              $
                                                                                                       ANY” column                                                                                              0.00

                                                                                                       2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                       PRIORITY” column.                                                                      0.00

                                                                                                       3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                             $
                                                                                                       PRIORITY, IF ANY” column                                                                                 0.00

                                                                                                       4. Total from Schedule F                                                                      $    19,541.00
                                                                                                       5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                  $
                                                                                                                                                                                                          19,541.00
                                                                                                                   Case
                                                                                                          B6 (Official Form14-29261-MBK
                                                                                                                            6 - Declaration) (12/07)Doc                                 1       Filed 09/19/14 Entered 09/19/14 16:54:43                                                                  Desc Main
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                                                                                                                    Monica Roccaforte
                                                                                                          In re                                                                                                                                        Case No.
                                                                                                                                                 Debtor                                                                                                                                   (If known)

                                                                                                                                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                              24
                                                                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                          are true and correct to the best of my knowledge, information, and belief.



                                                                                                           Date       9/19/2014                                                                                                 Signature:          /s/ Monica Roccaforte
                                                                                                                                                                                                                                                                                   Debtor


                                                                                                           Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                          (Joint Debtor, if any)

                                                                                                                                                                                                                                       [If joint case, both spouses must sign.]
                                                                                                       -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                         I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                     110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                     by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                     accepting any fee from the debtor, as required by that section.
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                                                                                                     Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                     of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                      If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                      who signs this document.




                                                                                                      Address

                                                                                                      X
                                                                                                                           Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                    Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                    If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                    A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                    18 U.S.C. § 156.
                                                                                                    -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                          I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                    or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                    in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                    shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                    Date                                                                                                                 Signature:


                                                                                                                                                                                                                                          [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                     [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                     -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                            Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                             Case
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                                                                                                                 Form 7) (04/13)             Doc 1        Filed 09/19/14            Entered 09/19/14 16:54:43                     Desc Main
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                                                                                                                                               UNITED STATESPage 32 of 55
                                                                                                                                                             BANKRUPTCY   COURT
                                                                                                                                                               District of New Jersey

                                                                                                     In Re Monica Roccaforte                                                                              Case No.
                                                                                                                                                                                                                           (if known)


                                                                                                                                                      STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                     This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                           the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                           information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                           filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                           provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                           indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                           or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                           R. Bankr. P. 1007(m).

                                                                                                                     Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                           must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                           space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                           (if known), and the number of the question.

                                                                                                           DEFINITIONS

                                                                                                                      "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                           individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                           the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                           the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
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                                                                                                           employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                           in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                      "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                           their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
                                                                                                           control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
                                                                                                           the debtor. 11 U.S.C. § 101(2), (31).



                                                                                                                     1. Income from employment or operation of business

                                                                                                                     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                     the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                          None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                     two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                     the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                     of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                     under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                     spouses are separated and a joint petition is not filed.)

                                                                                                                             AMOUNT                                                 SOURCE

                                                                                                              2014(db)            0.00      Approximate Year to Date Income from
                                                                                                                                            Employment
                                                                                                              2013(db)            0.00      Approximate Income from Employment

                                                                                                              2012(db)            0.00      Approximate Income from Employment



                                                                                                              2014(nfs)

                                                                                                              2013(nfs)

                                                                                                              2012(nfs)
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                                                                                                               2.   Income other than from employment or operation of business

                                                                                                    None              State the amount of income received by the debtor other than from employment, trade, profession, or
                                                                                                               operation of the debtor's business during the two years immediately preceding the commencement of this case.
                                                                                                               Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                               under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                                               the spouses are separated and a joint petition is not filed.)

                                                                                                                AMOUNT                                                                SOURCE



                                                                                                               3. Payments to creditors
                                                                                                    None
                                                                                                               Complete a. or b., as appropriate, and c.
                                                                                                               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                                                                                                               of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                                                                                                               commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                                                                                                               transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                                               a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                                                                                                               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                                                                                                               must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                               separated and a joint petition is not filed.)
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                                                                                                    NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                                                                                                    PAYMENTS                              PAID                   OWING




                                                                                                    None
                                                                                                               b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                                                                                                               made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                                                                                                               property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual,
                                                                                                               indicate with an asterisk (*)any payments that were made to a creditor on account of a domestic support
                                                                                                               obligation or as part of an alternativerepayment schedule under a plan by an approved nonprofit budgeting and
                                                                                                               credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                                                                                                               other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                               and a joint petition is not filed.)
                                                                                                    *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                                    NAME AND ADDRESS OF CREDITOR                                    DATES OF                             AMOUNT               AMOUNT STILL
                                                                                                     AND RELATIONSHIP TO DEBTOR                                     PAYMENTS                              PAID                   OWING
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                                                                                                    None
                                                                                                              c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                                                                                                              to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                                                                                                              must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                              separated and a joint petition is not filed.)


                                                                                                    NAME AND ADDRESS OF CREDITOR                              DATES OF                     AMOUNT PAID           AMOUNT STILL
                                                                                                     AND RELATIONSHIP TO DEBTOR                               PAYMENTS                                              OWING


                                                                                                              4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                    None      a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                                              immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                              must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                                              spouses are separated and a joint petition is not filed.)


                                                                                                     CAPTION OF SUIT                 NATURE OF PROCEEDING                        COURT OR                              STATUS OR
                                                                                                    AND CASE NUMBER                                                         AGENCY AND LOCATION                        DISPOSITION

                                                                                                    Midland Funding vs             Civil Suit                                  Superior Court of NJ                Pending
                                                                                                    Monica Roccaforte                                                          Law Division, Special Civil
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                                                                                                    DC-6739-14                                                                 part
                                                                                                                                                                               Ocean County
                                                                                                                                                                               Toms River, NJ


                                                                                                    None      b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                                                                                                              within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                                              12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                                              petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                       NAME AND ADDRESS OF                                       DATE OF                                    DESCRIPTION AND
                                                                                                     PERSON FOR WHOSE BENEFIT                                    SEIZURE                                   VALUE OF PROPERTY
                                                                                                       PROPERTY WAS SEIZED


                                                                                                              5.   Repossessions, foreclosures and returns

                                                                                                    None             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                                                                                                              deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                                                                                                              of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                                                              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                              joint petition is not filed.)


                                                                                                        NAME AND                                  DATE OF REPOSESSION,                                      DESCRIPTION AND
                                                                                                       ADDRESS OF                                  FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                                                    CREDITOR OR SELLER                            TRANSFER OR RETURN
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                                                                                                              6. Assignments and Receiverships

                                                                                                    None      a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                                                                                                              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                              any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                              and a joint petition is not filed.)


                                                                                                             NAME AND                                  DATE OF ASSIGNMENT                                TERMS OF
                                                                                                              ADDRESS                                                                                   ASSIGNMENT
                                                                                                            OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                                                    None      b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                                                                                                              one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                              chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                                              is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                            NAME AND                          NAME AND LOCATION                          DATE OF               DESCRIPTION AND
                                                                                                             ADDRESS                          OF COURT CASE TITLE                         ORDER               VALUE OF PROPERTY
                                                                                                           OF CUSTODIAN                            & NUMBER
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                                                                                                              7.   Gifts

                                                                                                    None            List all gifts or charitable contributions made within one year immediately preceding the commencement of
                                                                                                              this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                                              family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                                              under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                                              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                           NAME AND                            RELATIONSHIP                        DATE OF                 DESCRIPTION AND
                                                                                                          ADDRESS OF                         TO DEBTOR, IF ANY                       GIFT                   VALUE OF GIFT
                                                                                                    PERSON OR ORGANIZATION


                                                                                                              8.   Losses

                                                                                                    None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                              commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                                              or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                                              spouses are separated and a joint petition is not filed.)


                                                                                                        DESCRIPTION                          DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                              DATE OF
                                                                                                        AND VALUE                               WAS COVERED IN WHOLE OR IN PART BY                                    LOSS
                                                                                                        OF PROPERTY                                 INSURANCE, GIVE PARTICULARS
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                                                                                                              9.   Payments related to debt counseling or bankruptcy

                                                                                                    None              List all payments made or property transferred by or on behalf of the debtor to any persons, including
                                                                                                              attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                                              petition in bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                NAME AND ADDRESS                        DATE OF PAYMENT,                             AMOUNT OF MONEY OR
                                                                                                                    OF PAYEE                            NAME OF PAYOR IF                               DESCRIPTION AND
                                                                                                                                                       OTHER THAN DEBTOR                              VALUE OF PROPERTY

                                                                                                    James J. Cerbone                             7/23/2014                                      Total Fee: $3500.00
                                                                                                    2430 Route 34                                                                               Total Paid: $1000.00
                                                                                                    Building B, Suite 22                                                                        Court filing: $310.00
                                                                                                    Wall, NJ 08736                                                                              Credit Counseling: 50.00
                                                                                                                                                                                                Attorney fees: $640.00

                                                                                                                                                                                                Rest of fees, plus costs, in plan:
                                                                                                                                                                                                $2860.00



                                                                                                              10. Other transfers
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                                                                                                    None      a.     List all other property, other than property transferred in the ordinary course of the business or financial
                                                                                                              affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                                                                                                              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                                              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                                              is not filed.)


                                                                                                       NAME AND ADDRESS OF TRANSFEREE,                                    DATE                            DESCRIBE PROPERTY
                                                                                                           RELATIONSHIP TO DEBTOR                                                                         TRANSFERRED AND
                                                                                                                                                                                                           VALUE RECEIVED


                                                                                                              b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                                                                                                              case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                    None

                                                                                                           NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                                       TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                                         VALUE OF PROPERTY
                                                                                                                                                                                                        OR DEBTOR'S INTEREST
                                                                                                                                                                                                            IN PROPERTY
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                                                                                                              11. Closed financial accounts

                                                                                                    None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                                                                                                              which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                                                                                                              this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                                                                                                              shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                                                                                                              houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                              information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                                                                                                              filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                             NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                     AMOUNT AND
                                                                                                              ADDRESS                            DIGITS OF ACCOUNT NUMBER,                                      DATE OF SALE
                                                                                                           OF INSTITUTION                       AND AMOUNT OF FINAL BALANCE                                      OR CLOSING


                                                                                                              12. Safe deposit boxes

                                                                                                    None             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                              valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                                              under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                                              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                NAME AND                       NAMES AND ADDRESSES OF                 DESCRIPTION OF              DATE OF
                                                                                                             ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                  CONTENTS                TRANSFER OR
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                                                                                                           OR OTHER DEPOSITORY                     OR DEPOSITORY                                              SURRENDER, IF ANY


                                                                                                              13. Setoffs

                                                                                                    None             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                                                                                                              days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                              include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                                                                                                              are separated and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF CREDITOR                                 DATE                                 AMOUNT
                                                                                                                                                                         OF                                     OF
                                                                                                                                                                       SETOFF                                 SETOFF

                                                                                                              14. Property held for another person

                                                                                                    None            List all property owned by another person that the debtor holds or controls.


                                                                                                               NAME AND                               DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                            ADDRESS OF OWNER                         VALUE OF PROPERTY
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                                                                                                              15. Prior address of debtor
                                                                                                    None
                                                                                                                     If the debtor has moved within the three years immediately preceding the commencement of this case, list
                                                                                                              all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                                                                                                              If a joint petition is filed, report also any separate address of either spouse.


                                                                                                            ADDRESS                                          NAME USED                                  DATES OF OCCUPANCY



                                                                                                              16. Spouses and Former Spouses
                                                                                                    None
                                                                                                                 If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                              Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                                              within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                                                                                                              spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                            NAME


                                                                                                              17. Environmental Sites

                                                                                                              For the purpose of this question, the following definitions apply:
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                                                                                                              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                              releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                                              or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                              wastes, or material.

                                                                                                                         "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                                         not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                         "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                                         substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                    None
                                                                                                              a.       List the name and address of every site for which the debtor has received notice in writing by a
                                                                                                              governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                                                                                                              Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                            SITE NAME                         NAME AND ADDRESS                         DATE OF                ENVIRONMENTAL
                                                                                                           AND ADDRESS                      OF GOVERNMENTAL UNIT                        NOTICE                     LAW
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                                                                                                              b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                                              release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                    None

                                                                                                            SITE NAME                         NAME AND ADDRESS                          DATE OF                 ENVIRONMENTAL
                                                                                                           AND ADDRESS                      OF GOVERNMENTAL UNIT                         NOTICE                      LAW


                                                                                                              c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                                                                                                              Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
                                                                                                    None      that is or was a party to the proceeding, and the docket number.


                                                                                                              NAME AND ADDRESS                                DOCKET NUMBER                             STATUS OR DISPOSITION
                                                                                                            OF GOVERNMENTAL UNIT


                                                                                                              18. Nature, location and name of business

                                                                                                    None      a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                              businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                                              partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                                                                                                              trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                                                              commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                                                                                                              within the six years immediately preceding the commencement of this case.
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                                                                                                              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                                                                                                              and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                                                                                                              of the voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                              businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                                              percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                              of this case.

                                                                                                      NAME             LAST FOUR DIGITS OF                ADDRESS                   NATURE OF BUSINESS BEGINNING AND
                                                                                                                       SOCIAL-SECURITY OR                                                              ENDING DATES
                                                                                                                        OTHER INDIVIDUAL
                                                                                                                         TAXPAYER-I.D. NO.
                                                                                                                       (ITIN)/ COMPLETE EIN


                                                                                                              b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
                                                                                                              in 11 U.S.C. § 101.
                                                                                                    None

                                                                                                               NAME                                                                            ADDRESS




                                                                                                                           [Questions 19 - 25 are not applicable to this case]
                                                                                                                                               *    *     *   *   *   *
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                                                                                                                 [If completed by an individual or individual and spouse]

                                                                                                                 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                                                 attachments thereto and that they are true and correct.
                                                                                                                 9/19/2014                                                                                      /s/ Monica Roccaforte
                                                                                                    Date                                                                            Signature
                                                                                                                                                                                    of Debtor                   MONICA ROCCAFORTE




                                                                                                                                                                            0 continuation sheets attached
                                                                                                                                                                          _____


                                                                                                                        Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                           DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                    compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
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                                                                                                    (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                    preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
                                                                                                    debtor, as required in that section.




                                                                                                    Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                    If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                    partner who signs this document.




                                                                                                    Address

                                                                                                    X
                                                                                                    Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                    Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                    not an individual:

                                                                                                    If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                    A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                    or imprisonment or both. 18 U.S.C. §156.
                                                                                                            Case 14-29261-MBK                  Doc 1       Filed 09/19/14 Entered 09/19/14 16:54:43                                Desc Main
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                                                                                                    B 201B (Form 201B) (12/09)
                                                                                                                                          United States Bankruptcy Court
                                                                                                                                                         District of New Jersey



                                                                                                    In re   Monica Roccaforte                                                                    Case No.
                                                                                                                              Debtor                                                                                    (If known)



                                                                                                                            CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                                UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                                                                                      Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                              I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                     debtor the attached notice, as required by § 342(b) of the Bankruptcy Code




                                                                                                      Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                      Address:                                                                           preparer is not an individual, state the Social Security
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                                                                                                                                                                                         number of the officer, principal, responsible person,
                                                                                                                                                                                         or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                         (Required by 11 U.S.C. § 110.)

                                                                                                      X
                                                                                                      Signature of Bankruptcy Petition Preparer or officer,
                                                                                                      Principal, responsible person, or partner whose Social
                                                                                                      Security number is provided above.




                                                                                                                                                               Certification of the Debtor
                                                                                                               I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                     Code

                                                                                                       Monica Roccaforte                                                                 X   /s/ Monica Roccaforte                   9/19/2014
                                                                                                      Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                      Case No. (if known)                                                                X
                                                                                                                                                                                             Signature of Joint Debtor, (if any)           Date




                                                                                                      Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                      Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                      NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                      the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                      petition preparers on page 3 of Form B1 also include this certification.
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           Ashton Drake Galleries
           Attn: National Recovery Agency
           2491 Paxton Street
           Harrisburg, PA 17111


           BMG Music Service
           Attn: Trident Asset Management
           5755 N Point Pkwy
           Suite 12
           Alpharetta, GA 30022


           Brick Cardio Specialisits
           147 Route 37 West Ste 3
           Toms River, NJ 08755-8062


           Capital One Bank
           PO Box 71083
           Charlotte, NC 28272-1083


           Colts Neck Neurology
           20 Hospital Dr
           Toms River, NJ 08755


           Columbia House DVD Club Account
           Attn: Receivables Performance
           20816 44th Avenue West
           Lynwood, WA 98036


           Community EMA
           PO Box 417442
           Boston, MA 02241-7442


           Community Medical Center
           Attn: RMB, Inc
           409 Bearden Park Circle
           Knoxville, TN 37919


           Community Medical Center
           Attn: Senex Services
           3500 Depauw Blvd Ste 3050
           Indianapolis, IN 46268-1138
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           Community Medical Center
           Attn: UTC
           Billing Department
           PO Box 145465
           Cincinnati, OH 45250-5465


           Community Medical Center
           PO Box 29969
           New York, NY 10087-9969


           Community Medical Center
           PO Box 29969
           New York, NY 10087-9969


           Community Medical Center
           PO Box 29969
           New York, NY 10087-9969


           Dish Network
           Attn: Stellar Recovery
           1327 Highway 2 West
            Suite 100
           Kalispell, MT 59901


           Fingerhut
           Attn: Midland Funding
           PO Box 60578
           Los Angeles, CA 90060-0578


           Fingerhut
           PO Box 166
           Newark, NJ 07101-0166


           Gastroenterologists of Ocean County
           477 Lakehurst Road
           Toms River,, NJ 08755


           GE Money Bank
           Bankruptcy Dept
           PO Box 103104
           Roswell, GA 30076
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           JCP&L
           Attn: Trident Asset Management
           5755 N Point Pkwy
           Suite 12
           Alpharetta, GA 30022


           JCP&L
           PO Box 3687
           Akron, OH 44309-3687


           Jersey Pulmonary Care
           9 Hospital Drive, Suite A18
           Toms River, NJ 08755-6425


           Jersey Pulmonary Care
           Attn: Capital Accounts
           PO Box 140065
           Nashville, TN 37214


           Medical Radiology Group
           PO Box 11268
           Lancaster, PA 17605-1268


           Midland Funding
           Attn: Lyons Doughty Veldhuis
           PO Box 1269
           Mount Laurel, NJ 08054


           Nissan Motor Acceptance Corporation
           PO Box 317447
           Pittsburgh, PA 15250-7447


           NJ Heart Institute, PA
           20 Hospital Drive
           Suite 12B
           Toms River, NJ 08755-6434


           Ocean Heart Group
           1530 Route 88 West
           Brick, NJ 08724-2390


           Ocean Pathology
           PO Box 60100
           Charleston, SC 29419-0100
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           Presription Hope
           Attn: Meade & Associates
           737 Enterprise Drive
           Westerville, OH 43081-8850


           Radiology Physicians at Comm Med Center
           Attn: Apex Asset Management LLC
           2501Oregon Pike Ste 102
           Lancaster, PA 17601-4890


           Shore Heart Group
           1820 State Route 33, Ste 4B
           Neptune, NJ 07753-4860


           The Bradford Exchange
           Attn: National Recovery Agency
           2491 Paxton Street
           Harrisburg, PA 17111


           Toms River Anesthesia Associates
           PO Box 13635
           Philadelphia, PA 19101


           Toms River Anesthesia Associates
           Attn: Savit Collection Agency
           PO box 250
           East Brunswick, NJ 08816-0250
                                                                                                               Case 14-29261-MBK                     Doc 1        Filed 09/19/14 Entered 09/19/14 16:54:43                                 Desc Main
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                                                                                                    B203
                                                                                                    12/94
                                                                                                                                               United States Bankruptcy Court
                                                                                                                                                                     District of New Jersey
                                                                                                            In re Monica Roccaforte                                                                 Case No. ____________________
                                                                                                                                                                                                    Chapter           13
                                                                                                                                                                                                                 ____________________
                                                                                                            Debtor(s)
                                                                                                                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                    1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                            and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                            rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                         3,500.00
                                                                                                            For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                              640.00
                                                                                                            Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                        2,860.00
                                                                                                            Balance Due ......................................……………………………………….................... $ ______________

                                                                                                    2.      The source of compensation paid to me was:

                                                                                                                              Debtor                  Other (specify)
                                                                                                    3.      The source of compensation to be paid to me is:
                                                                                                                              Debtor                  Other (specify)

                                                                                                    4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                                    associates of my law firm.
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                                                                                                               I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                    of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                             a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                             b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                             c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                                                             d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;




                                                                                                     6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                              CERTIFICATION

                                                                                                                     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                  debtor(s) in the bankruptcy proceeding.

                                                                                                                     9/19/2014                                                         /s/ James J. Cerbone
                                                                                                                  ____________________________________                               __________________________________________________
                                                                                                                                 Date                                                                    Signature of Attorney

                                                                                                                                                                                     __________________________________________________
                                                                                                                                                                                                      Name of law firm
                                                                                                             Case 14-29261-MBK              Doc 1
                                                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)
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                                                                                                                                                               According to the calculations required by this statement:
                                                                                                            Monica Roccaforte                                     The applicable commitment period is 3 years.
                                                                                                    In re
                                                                                                                          Debtor(s)                                The applicable commitment period is 5 years.
                                                                                                                                                                   Disposable income is determined under § 1325(b)(3).
                                                                                                    Case Number:                                                   Disposable income not determined under § 1325(b)(3).
                                                                                                                         (If known)
                                                                                                                                                               (Check the boxes as directed in Lines 17 and 23 of this statement.)


                                                                                                                           CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                     AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                                                    In addition to Schedule I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing
                                                                                                    jointly. Joint debtors may complete one statement only.

                                                                                                                                                     Part I. REPORT OF INCOME
                                                                                                             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                                              a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                                                              b.   Married. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income") for Lines 2-10.
                                                                                                       1
                                                                                                             All figures must reflect average monthly income received from all sources, derived during the               Column A     Column B
                                                                                                             six calendar months prior to filing the bankruptcy case, ending on the last day of the month                Debtor’s      Spouse’s
                                                                                                             before the filing. If the amount of monthly income varied during the six months, you must                    Income       Income
                                                                                                             divide the six-month total by six, and enter the result on the appropriate line.
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                                                                                                       2     Gross wages, salary, tips, bonuses, overtime, commissions.                                              $       0.00 $        0.00
                                                                                                             Income from the operation of a business, profession or farm. Subtract Line b from Line a
                                                                                                             and enter the difference in the appropriate column(s) of Line 3. If you operate more than one
                                                                                                             business, profession or farm, enter aggregate numbers and provide details on an attachment.
                                                                                                             Do not enter a number less than zero. Do not include any part of the business expenses
                                                                                                       3     entered on Line b as a deduction in Part IV.
                                                                                                               a.      Gross receipts                                       $                          0.00
                                                                                                               b.      Ordinary and necessary business expenses             $                          0.00
                                                                                                               c.      Business income                                      Subtract Line b from Line a              $       0.00 $        0.00
                                                                                                             Rents and other real property income. Subtract Line b from Line a and enter the difference in
                                                                                                             the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
                                                                                                             part of the operating expenses entered on Line b as a deduction in Part IV.

                                                                                                       4        a.     Gross receipts                                        $                         0.00
                                                                                                                b.     Ordinary and necessary operating expenses             $                         0.00
                                                                                                                c.     Rent and other real property income                   Subtract Line b from Line a             $       0.00 $        0.00
                                                                                                       5     Interest, dividends and royalties.                                                                      $       0.00 $        0.00
                                                                                                       6     Pension and retirement income.                                                                          $       0.00 $        0.00
                                                                                                             Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                             expenses of the debtor or the debtor's dependents, including child support paid for that
                                                                                                       7     purpose. Do not include alimony or separate maintenance payments or amounts paid by the
                                                                                                             debtor’s spouse. Each regular payment should be reported in only one column; if a payment is
                                                                                                             listed in Column A, do not report that payment in Column B.                                             $       0.00 $        0.00
                                                                                                           Case 14-29261-MBK                Doc 1      Filed 09/19/14 Entered 09/19/14 16:54:43
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                                                                                                           Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                                                           However, if you contend that unemployment compensation received by you or your spouse was a
                                                                                                           benefit under the Social Security Act, do not list the amount of such compensation in Column A
                                                                                                     8     or B, but instead state the amount in the space below:
                                                                                                           Unemployment compensation claimed to be a
                                                                                                           benefit under thecompensation.
                                                                                                           Unemployment       Social Security Enter
                                                                                                                                              Act the amount Debtor          0.00 column(s)
                                                                                                                                                                in the$ appropriate               0.00
                                                                                                                                                                                    Spouse $ of Line 8.   $            0.00 $        0.00
                                                                                                           Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                           sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
                                                                                                           maintenance payments paid by your spouse, but include all other payments of alimony or
                                                                                                           separate maintenance. Do not include any benefits received under the Social Security Act or
                                                                                                    9      payments received as a victim of a war crime, crime against humanity, or as a victim of
                                                                                                           international or domestic terrorism.
                                                                                                             a.                                                                            $      0.00
                                                                                                             b.                                                                       $       0.00            $        0.00 $        0.00
                                                                                                           Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                                                    10     through 9 in Column B. Enter the total(s).                                                         $        0.00 $        0.00
                                                                                                           Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
                                                                                                    11     enter the total. If Column B has not been completed, enter the amount from Line 10, Column         $                      0.00
                                                                                                           A.
                                                                                                                           Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
                                                                                                    12     Enter the Amount from Line 11.                                                                                     $      0.00
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                                                                                                           Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
                                                                                                           calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
                                                                                                           spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a
                                                                                                           regular basis for the household expenses of you or your dependents and specify, in the lines below, the basis
                                                                                                           for excluding this income (such as payment of the spouse's tax liability or the spouse's support of persons
                                                                                                           other than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
                                                                                                           necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do not
                                                                                                    13     apply, enter zero.
                                                                                                             a.                                                                          $          0.00
                                                                                                              b.                                                                       $          0.00
                                                                                                              c.                                                                       $          0.00
                                                                                                           Total and enter on Line 13.                                                                                        $      0.00

                                                                                                    14     Subtract Line 13 from Line 12 and enter the result.                                                                $      0.00
                                                                                                    15     Annualized current monthly income for §1325(b)(4). Multiply the amount from Line 14 by the number
                                                                                                           12 and enter the result.                                                                                           $      0.00
                                                                                                           Applicable median family income. Enter the median family income for the applicable state and household
                                                                                                           size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                    16     court.)
                                                                                                                                                    NewJersey
                                                                                                           a. Enter debtor’s state of residence: _______________                                         2
                                                                                                                                                                 b. Enter debtor’s household size: __________                 $ 71,178.00
                                                                                                             Application of §1325(b)(4). Check the applicable box and proceed as directed.
                                                                                                               The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
                                                                                                               3 years” at the top of page 1 of this statement and continue with this statement.
                                                                                                    17
                                                                                                                  The amount on Line 15 is more than the amount on Line 16. Check the box for “The applicable commitment period
                                                                                                                  is 5 years” at the top of page 1 of this statement and continue with this statement.

                                                                                                            Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                                                    18     Enter the Amount from Line11.                                                                                      $      0.00
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                                                                                                           Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
                                                                                                           of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses
                                                                                                           of the debtor or the debtor’s dependents. Specify, in the lines below, the basis for excluding the Column B
                                                                                                           income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor
                                                                                                           or the debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional
                                                                                                           adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
                                                                                                    19       a.                                                                         $         0.00
                                                                                                             b.                                                                         $         0.00
                                                                                                             c.                                                                         $         0.00
                                                                                                          Total and enter on Line 19.                                                                                        $       0.00

                                                                                                    20      Current monthly income for §1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                      $       0.00

                                                                                                    21      Annualized current monthly income for §1325(b)(3). Multiply the amount from Line 20 by the
                                                                                                            number 12 and enter the result.                                                                                  $       0.00

                                                                                                    22      Applicable median family income. Enter the amount from Line 16.                                                  $ 71,178.00
                                                                                                            Application of §1325(b)(3). Check the applicable box and proceed as directed.
                                                                                                                  The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
                                                                                                                  under §1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                                                    23
                                                                                                                  The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
                                                                                                                  determined under §1325(b)(3)” at the top of page 1 of this statement and continue with Part VII of this statement. Do not
                                                                                                                  complete Parts IV, V or VI.
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                                                                                                                               Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                                                                                                      Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                           National Standards: food, apparel and services, housekeeping supplies, personal care, and
                                                                                                           miscellaneous. Enter in line 24A the “Total” amount from IRS National Standards for Allowable Living
                                                                                                    24A    Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from
                                                                                                           the clerk of the bankruptcy court.) The applicable number of persons is the number that would currently be
                                                                                                           allowed as exemptions on your federal income tax return, plus the number of any additional dependents
                                                                                                           whom you support.                                                                                           $         N.A.
                                                                                                         National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
                                                                                                        of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
                                                                                                        of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                                                        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                                                        persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                                                        years of age or older. (The applicable number of persons in each age category is the number in that category
                                                                                                        that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                                                                                                        additional dependents whom you support.) Multiply line a1 by Line b1 to obtain a total amount for persons
                                                                                                    24B under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
                                                                                                        and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter
                                                                                                        the result in Line 24B.
                                                                                                            Persons under 65 years of age                          Persons 65 years of age or older
                                                                                                             a1. Allowance per person                       N.A.   a2. Allowance per person                  N.A.
                                                                                                             b1     Number of persons                       N.A.   b2. Number of persons                      N.A.
                                                                                                             c1. Subtotal                                   N.A.   c2. Subtotal                              N.A.
                                                                                                                                                                                                                             $   N.A.
                                                                                                        Local Standards: housing and utilities; non-mortgage expenses. Enter amount of the IRS Housing and
                                                                                                        Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
                                                                                                    25A available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable family size
                                                                                                        consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                        the number of any additional dependents whom you support.                                                            $   N.A.
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                                                                                                        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
                                                                                                        IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information
                                                                                                        is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size
                                                                                                        consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                        the number of any additional dependents whom you support); enter on Line b the total of the Average
                                                                                                        Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and
                                                                                                    25B enter the result in Line 25B. Do not enter an amount less than zero.

                                                                                                             a.        IRS Housing and Utilities Standards; mortgage/rental expense   $                     N.A.
                                                                                                                       Average Monthly Payment for any debts secured by your home,
                                                                                                             b.        if any, as stated in Line 47                                $                        N.A.

                                                                                                             c.        Net mortgage/rental expense                                    Subtract Line b from Line a.          $   N.A.
                                                                                                          Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
                                                                                                          and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                                                          Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
                                                                                                     26   your contention in the space below:


                                                                                                                                                                                                                            $   N.A.

                                                                                                         Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
                                                                                                         expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
                                                                                                         regardless of whether you use public transportation.
                                                                                                         Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
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                                                                                                         are included as a contribution to your household expenses in Line 7.                0     1       2 or more.
                                                                                                    27A If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                                                         Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
                                                                                                         Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                         Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
                                                                                                                                                                                                                      $         N.A.
                                                                                                         the bankruptcy court.)
                                                                                                         Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                                                         expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                                                     27B additional deduction for your public transportation expenses, enter on Line 27B the “Public Transportation”
                                                                                                         amount from the IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or
                                                                                                         from the clerk of the bankruptcy court.)                                                                     $         N.A.
                                                                                                          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                                                          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
                                                                                                          two vehicles.)      1       2 or more.
                                                                                                          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                          Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
                                                                                                          Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                                                     28
                                                                                                                  a.      IRS Transportation Standards, Ownership Costs                   $                 N.A.
                                                                                                                          Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                                  b.      as stated in Line 47                                            $                 N.A.
                                                                                                                  c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.      $   N.A.
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                                                                                                          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                                                          checked the “2 or more” Box in Line 28.
                                                                                                          Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                          (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                    29    Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
                                                                                                          Line a and enter the result in Line 29. Do not enter an amount less than zero.
                                                                                                               a.      IRS Transportation Standards, Ownership Costs                      $                   N.A.
                                                                                                                       Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                               b.      as stated in Line 47                                               $
                                                                                                                                                                                                             N.A.
                                                                                                               c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.        $   N.A.
                                                                                                          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all for
                                                                                                    30    all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
                                                                                                          taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
                                                                                                                                                                                                                              $   N.A.
                                                                                                          Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                                                    31    deductions that are required for your employment, such as mandatory retirement contributions, union dues,
                                                                                                          and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                $       N.A.
                                                                                                          Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
                                                                                                          term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life
                                                                                                    32
                                                                                                          or for any other form of insurance.                                                                             $       N.A.
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                                                                                                          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
                                                                                                          to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do
                                                                                                    33    not include payments on past due support obligations included in Line 49.                                       $       N.A.
                                                                                                          Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
                                                                                                          Enter the total monthly amount that you actually expend for education that is a condition of employment and
                                                                                                    34    for education that is required for a physically or mentally challenged dependent child for whom no public
                                                                                                          education providing similar services is available.                                                                  $   N.A.
                                                                                                          Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                                                                                                    35    childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                                                                                                                                                                              $   N.A.
                                                                                                          payments.
                                                                                                          Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
                                                                                                          on health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed
                                                                                                    36    by insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do
                                                                                                          not include payments for health insurance or health savings accounts listed in Line 39.                           $     N.A.
                                                                                                          Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
                                                                                                          actually pay for telecommunications services other than your basic home telephone and cell phone service –
                                                                                                    37    such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
                                                                                                          your health and welfare or that of your dependents. Do not include any amount previously deducted.                  $   N.A.

                                                                                                    38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                 $
                                                                                                                                                                                                                                  N.A.
                                                                                                                                            Subpart B: Additional Living Expense Deductions
                                                                                                                                   Note: Do not include any expenses that you have listed in Lines 24-37
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                                                                                                           Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                                                           expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or
                                                                                                           your dependents.
                                                                                                              a.     Health Insurance                                                  $    N.A.
                                                                                                              b.     Disability Insurance                                              $    N.A.
                                                                                                     39
                                                                                                              c.     Health Savings Account                                            $    N.A.
                                                                                                        Total and enter on Line 39                                                                                             $ N.A.
                                                                                                        If you do not actually expend this total amount, state your actual total average monthly expenditures in the
                                                                                                        space below:
                                                                                                            $          N.A.
                                                                                                        Continued contributions to the care of household or family members. Enter the total average actual
                                                                                                        monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                                     40 elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                        unable to pay for such expenses. Do not include payments listed in Line 34.                                            $ N.A.
                                                                                                           Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
                                                                                                     41    actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
                                                                                                           other applicable federal law. The nature of these expenses is required to be kept confidential by the court.        $ N.A.
                                                                                                        Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
                                                                                                        Standards for Housing and Utilities that you actually expend for home energy costs. You must provide your
                                                                                                     42
                                                                                                        case trustee with documentation of your actual expenses, and you must demonstrate that the additional
                                                                                                        amount claimed is reasonable and necessary.                                                                  $ N.A.
                                                                                                        Education expenses for dependent children under18. Enter the total average monthly expenses that you
                                                                                                        actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
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                                                                                                     43 school by your dependent children less than 18 years of age. You must provide your case trustee with
                                                                                                        documentation of your actual expenses, and you must explain why the amount claimed is reasonable
                                                                                                        and necessary and not already accounted for in the IRS Standards.                                                      $ N.A.
                                                                                                        Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                                        clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                                                     44 National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                                        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
                                                                                                        amount claimed is reasonable and necessary.                                                                            $ N.A.
                                                                                                        Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                                                     45 charitable contributions in the form of cash or financial instruments to a charitable organization as defined in
                                                                                                        26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.
                                                                                                                                                                                                                               $ N.A.
                                                                                                     46 Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                            $ N.A.
                                                                                                                                                   Subpart C: Deductions for Debt Payment
                                                                                                           Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                                                           you own, list the name of creditor, identify the property securing the debt, and state the Average Monthly
                                                                                                           Payment, and check whether the payment includes taxes and insurance. The Average Monthly Payment is the
                                                                                                           total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
                                                                                                           filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the
                                                                                                           total of the Average Monthly Payments on Line 47.


                                                                                                     47          Name of Creditor                Property Securing the Debt               Average        Does payment
                                                                                                                                                                                          Monthly        include taxes or
                                                                                                                                                                                          Payment        insurance?
                                                                                                            a.                                                                        $                        yes    no
                                                                                                            b.                                                                        $                        yes    no
                                                                                                            c.                                                                        $                        yes    no
                                                                                                                                                                                      Total: Add Lines
                                                                                                                                                                                      a, b and c                               $ N.A.
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                                                                                                          Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
                                                                                                          a motor vehicle, or other property necessary for your support or the support of your dependents, you may
                                                                                                          include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor in addition
                                                                                                          to the payments listed in Line 47, in order to maintain possession of the property. The cure amount would
                                                                                                          include any sums in default that must be paid in order to avoid repossession or foreclosure. List and total any
                                                                                                    48    such amounts in the following chart. If necessary, list additional entries on a separate page.
                                                                                                                    Name of Creditor                   Property Securing the Debt         1/60th of the Cure Amount
                                                                                                           a.                                                                             $
                                                                                                           b.
                                                                                                                                                                                          $
                                                                                                           c.                                                                             $
                                                                                                    48                                                                                     Total: Add Lines a, b and c       $   N.A.
                                                                                                          Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
                                                                                                          priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
                                                                                                    49
                                                                                                          Do not include current obligations, such as those set out in Line 33.                                            $     N.A.
                                                                                                          Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
                                                                                                          resulting administrative expense.
                                                                                                            a.     Projected average monthly Chapter 13 plan payment.                     $                  N.A.
                                                                                                                   Current multiplier for your district as determined under
                                                                                                    50             schedules issued by the Executive Office for United States
                                                                                                            b.     Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                                   or from the clerk of the bankruptcy court.)                                               N.A.
                                                                                                                                                                                          x
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                                                                                                            c.     Average monthly administrative expense of Chapter 13 case              Total: Multiply Lines a and b          N.A.
                                                                                                                                                                                                                             $
                                                                                                    51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                             N.A.
                                                                                                                                                                                                                             $
                                                                                                                                                  Subpart D: Total Deductions from Income
                                                                                                    52    Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                      $   N.A.

                                                                                                                    Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                                                    53    Total current monthly income. Enter the amount from Line 20.                                                       $   N.A.
                                                                                                          Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                                                    54    disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
                                                                                                          nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                               $   N.A.

                                                                                                          Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
                                                                                                    55    wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
                                                                                                          repayments of loans from retirement plans, as specified in § 362(b)(19).                                   $           N.A.

                                                                                                    56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                  $   N.A.
                                                                                                          Deduction for special circumstances. If there are special circumstances that justify additional expenses for
                                                                                                          which there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines
                                                                                                          a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in
                                                                                                          Line 57. You must provide your case trustee with documentation of theses expenses and you must
                                                                                                          provide a detailed explanation of the special circumstances that make such expenses necessary and
                                                                                                          reasonable.
                                                                                                                              Nature of special circumstances                                  Amount of expense
                                                                                                    57
                                                                                                            a.                                                                             $
                                                                                                            b.                                                                             $
                                                                                                            c.                                                                             $
                                                                                                                                                                                          Total: Add Lines a, b and c        $   N.A.
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                                                                                                     58    Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56 and 57 and enter
                                                                                                           the result.                                                                                                          $    N.A.

                                                                                                     59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                         N.A.
                                                                                                                                                                                                                                $

                                                                                                                                            Part VI: ADDITIONAL EXPENSE CLAIMS
                                                                                                           Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                                                           and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
                                                                                                           under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
                                                                                                           monthly expense for each item. Total the expenses.
                                                                                                                                          Expense Description                                                  Monthly Amount
                                                                                                     60
                                                                                                             a.                                                                                            $
                                                                                                             b.                                                                                            $
                                                                                                             c.                                                                                            $
                                                                                                                                                              Total: Add Lines a, b and c                         N.A.


                                                                                                                                                            Part VII: VERIFICATION
                                                                                                           I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                           both debtors must sign.)
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                                                                                                     61         Date: 9/19/2014                             Signature:      /s/ Monica Roccaforte
                                                                                                                                                                                    (Debtor)

                                                                                                                  Date: 9/19/2014                             Signature:
                                                                                                                                                                                  (Joint Debtor, if any)
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                                                                                                                                                Form 22 Continuation Sheet
                                                                                                    Income Month 1                                              Income Month 2


                                                                                                    Gross wages, salary, tips...                0.00     0.00   Gross wages, salary, tips...         0.00       0.00
                                                                                                    Income from business...                     0.00     0.00   Income from business...              0.00       0.00
                                                                                                    Rents and real property income...           0.00     0.00   Rents and real property income...    0.00       0.00
                                                                                                    Interest, dividends...                      0.00     0.00   Interest, dividends...               0.00       0.00
                                                                                                    Pension, retirement...                      0.00     0.00   Pension, retirement...               0.00       0.00
                                                                                                    Contributions to HH Exp...                  0.00     0.00   Contributions to HH Exp...           0.00       0.00
                                                                                                    Unemployment...                             0.00     0.00   Unemployment...                      0.00       0.00
                                                                                                    Other Income...                             0.00     0.00   Other Income...                      0.00       0.00



                                                                                                    Income Month 3                                              Income Month 4


                                                                                                    Gross wages, salary, tips...                0.00     0.00   Gross wages, salary, tips...         0.00       0.00
                                                                                                    Income from business...                     0.00     0.00   Income from business...              0.00       0.00
                                                                                                    Rents and real property income...           0.00     0.00   Rents and real property income...    0.00       0.00
                                                                                                    Interest, dividends...                      0.00     0.00   Interest, dividends...               0.00       0.00
                                                                                                    Pension, retirement...                      0.00     0.00   Pension, retirement...               0.00       0.00
                                                                                                    Contributions to HH Exp...                  0.00     0.00   Contributions to HH Exp...           0.00       0.00
                                                                                                    Unemployment...                             0.00     0.00   Unemployment...                      0.00       0.00
                                                                                                    Other Income...                             0.00     0.00   Other Income...                      0.00       0.00
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                                                                                                    Income Month 5                                              Income Month 6


                                                                                                    Gross wages, salary, tips...                0.00     0.00   Gross wages, salary, tips...         0.00       0.00
                                                                                                    Income from business...                     0.00     0.00   Income from business...              0.00       0.00
                                                                                                    Rents and real property income...           0.00     0.00   Rents and real property income...    0.00       0.00
                                                                                                    Interest, dividends...                      0.00     0.00   Interest, dividends...               0.00       0.00
                                                                                                    Pension, retirement...                      0.00     0.00   Pension, retirement...               0.00       0.00
                                                                                                    Contributions to HH Exp...                  0.00     0.00   Contributions to HH Exp...           0.00       0.00
                                                                                                    Unemployment...                             0.00     0.00   Unemployment...                      0.00       0.00
                                                                                                    Other Income...                             0.00     0.00   Other Income...                      0.00       0.00



                                                                                                                                          Additional Items as Designated, if any




                                                                                                                                                        Remarks
